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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division




        -------------------------------:
                                       :
        NATIONAL RIFLE ASSOCIATION     :
        OF AMERICA,                    :
                       Plaintiff,      :
                                       :
             -vs-                      :            Case No. 1:18-cv-639
                                       :
                                       :
        LOCKTON AFFINITY SERIES OF     :
        LOCKTON AFFINITY, LLC, et al., :
                       Defendants.     :
                                       :
        -------------------------------:




                          HEARING ON PRO HAC VICE MATTERS


                                    September 13, 2018


                          Before:    Liam O'Grady, USDC Judge




        APPEARANCES:

        James W. Hundley, Robert H. Cox, and William A. Brewer, III,
        Counsel for the Plaintiff

        Bernard J. DiMuro and Stacey R. Harris, Counsel for Mr. Brewer




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   1                 THE CLERK:    The Court calls case 1:18-cv-639,

   2    National Rifle Association of America versus Lockton Affinity

   3    Series of Lockton Affinity, LLC, et al.

   4                 May I have the appearances, please, first for the

   5    plaintiff.

   6                 MR. HUNDLEY:   Good morning, Your Honor.             Jim Hundley

   7    here on behalf of the National Rifle Association.                 With me is

   8    Bob Cox, also counsel for the National Rifle Association.

   9                 Also present is Bill Brewer, who has been admitted in

  10    the case on a pro hac vice matter which is under further review

  11    today.

  12                 THE COURT:    All right, good morning.

  13                 MR. HUNDLEY:   Good morning, Your Honor.

  14                 MR. COX:   Good morning, Your Honor.

  15                 MR. DiMURO:    Good morning, Your Honor.            Ben DiMuro

  16    and Stacey Rose Harris appearing specially on behalf of Mr.

  17    Brewer.

  18                 And I also note that John Frazier, general counsel to

  19    the NRA, is present in the courtroom.          He is an admitted member

  20    of the Bar.    I just wanted to note his appearance.

  21                 THE COURT:    All right.   Good morning to each of you.

  22                 All right.    I ordered this hearing in response to

  23    information received about Mr. Brewer's findings in Texas

  24    against him, a finding by a trial judge and then a Court of

  25    Appeals that he had acted unethically and in bad faith in a




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   1    prior litigation.

   2                And as we all know, the pro hac vice statement

   3    requires an applicant to state that "I have not been

   4    reprimanded in any court, nor has there been any action in any

   5    court pertaining to my conduct or fitness as a member of the

   6    Bar."

   7                And in reviewing the District Court and the Appellate

   8    Court's written orders, I found it necessary to have our

   9    hearing today.

  10                I would also note that Mr. Cox in vouching for Mr.

  11    Brewer's good standing stated that, as a member of the court,

  12    that he knew the applicant personally, said that the applicant

  13    possessed all the qualifications required for admission to the

  14    Bar of this court, "that I have examined the applicant's

  15    personal statement.      I affirm that his personal and

  16    professional character and standing are good, and petition the

  17    court to admit the applicant pro hac vice."              And that certainly

  18    is an area that I believe deserves some attention this morning

  19    as well.

  20                So let's discuss Mr. Brewer first.             Mr. DiMuro,

  21    what's Mr. Brewer's position on the accuracy of the statement

  22    that he signed?

  23                MR. DiMURO:    We would -- I don't know how you want to

  24    proceed, but Mr. Brewer is prepared to explain to the Court his

  25    thought processes and why he signed it.           And he can do it at




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   1    the podium.    I might have a few additional questions for him

   2    that is more appropriate for a give and take, and then a

   3    handful of exhibits.

   4                THE COURT:    All right.

   5                MR. DiMURO:    But I will go ahead and have Mr. Brewer

   6    explain himself.

   7                THE COURT:    Sure.   Mr. Brewer, please come to the

   8    podium, sir.

   9                MR. BREWER:    Good morning, Your Honor.             Thank you for

  10    the opportunity to address the Court.          I am sorry to be a

  11    burden to the Court on this.

  12                The matter that the Court referred to is on appeal to

  13    the Texas Supreme Court.      It was my thinking when I filled out

  14    the application that -- and by the way, thank you for admitting

  15    me provisionally to appear before you as a representative and

  16    advocate for the NRA.

  17                But it was my thinking when I filled that application

  18    out that it was -- didn't refer to pending matters, but frankly

  19    to final matters.     Because I know that the matter is not final

  20    because it is on appeal.      And, frankly, since then I have been

  21    encouraged that the Supreme Court has done what courts -- what

  22    I believed strongly the court would do, not only grant a

  23    hearing on it, but actually set it down for oral argument.

  24    Because I felt strongly that it was important for me to pursue

  25    that matter.




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   1                But because it was not a final matter, I didn't think

   2    it was called for.     Now, obviously, no advocate -- and I have

   3    been -- had the pleasure to be an advocate for clients for

   4    38 years now.     No advocate, no one in my firm ever hears me say

   5    anything other than that it is privilege to appear in a court

   6    like this on behalf of a client.        I take very seriously my

   7    responsibilities as an officer of the court.

   8                And so, candor is the issue of the day, and my

   9    opportunity to convince you that I will be candid and deserve

  10    the privilege to appear in your court.           I can tell you that it

  11    was no attempt on my part to --

  12                THE COURT:    Well, did you not read the statement?

  13                MR. BREWER:    I did read it.      I did read it, Your

  14    Honor.   I thought it referred to -- what I thought was called

  15    for was final --

  16                THE COURT:    "Nor has there been any action in any

  17    court pertaining to my conduct or fitness as a member of the

  18    Bar."

  19                How could you read that any other way than requiring

  20    you to notify the court if there had been any action in any

  21    court?

  22                MR. BREWER:    Your Honor, looking back on it now, and

  23    I can tell perhaps I made a mistake, but I regularly fill out

  24    applications for pro hac admission in other courts.                  I been

  25    instructed by my counsel, my appellate counsel, to be careful




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   1    about the fact that this was a non-final or suspended matter

   2    while it was on appeal.

   3                In fact, I have filled out other pro hacs in other

   4    courts where they requested information about any pending

   5    matters, and disclosed the existence of the situation in

   6    Lubbock.

   7                THE COURT:    This was meant to be even broader to make

   8    sure that it captures any action in any court.

   9                MR. BREWER:    Your Honor, I honestly -- candor is the

  10    issue of the day, and to be -- you have asked me the most

  11    important question, what was I thinking when I filled it out.

  12    Clearly, no -- it's a very celebrated, high-profile matter back

  13    in Texas.    Any amount of search around me would reveal that

  14    it's quite celebrated, as is the fact now that the Supreme

  15    Court has accepted argument on it.

  16                The fact is, it was certainly no attempt on my part

  17    to mislead.    I simply thought, given that it was inquiring into

  18    any reprimand, well, I haven't been reprimanded.                There is

  19    pending an order of a court from a District Court, Judge Reyes

  20    out of Lubbock, that is being reviewed and was in the appellate

  21    process.

  22                So, candidly, I wish I had a more satisfactory

  23    answer.    Frankly, I wish I had filled it out separately, done

  24    something different because no one wants to be at the podium

  25    making this explanation as I am doing today, Your Honor.




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   1                 But life is a growing, learning process, as we tell

   2    our children.     Right?   And I wish I could hit the button, go

   3    back, rethink it.     But at the time, to be completely candid

   4    with Your Honor, as I will always be in your court, I thought

   5    it didn't -- as I told Your Honor, in other applications for

   6    pro hac admission where it said "pending matters," I disclosed

   7    it, I have disclosed it.

   8                 But in this matter I thought it was referring to a

   9    reprimand.    Well, I haven't been reprimanded.             In fact, the

  10    reprimand has been suspended while it's on appeal.

  11                 And so, that was my thinking when I filled it out.

  12                 THE COURT:    Okay.   Did you tell Mr. Cox about the

  13    action by Judge Reyes or the Appeals Court?

  14                 MR. BREWER:    I did not.

  15                 THE COURT:    Okay.   All right.     Thank you, sir.

  16                 MR. DiMURO:    May I just ask a few questions, Your

  17    Honor?

  18                 THE COURT:    Yes, go ahead, Mr. DiMuro.

  19                 MR. BREWER:    Your Honor, should I stand here you or

  20    go to my chair --

  21                 THE COURT:    You can go -- well, no, I need to make

  22    sure we get your answers on the recorder.            So please stay

  23    there.

  24                 MR. DiMURO:    I will be quick, Your Honor.

  25                 In Texas, the Supreme Court does not have -- it is




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   1    not a mandatory appeal to the Supreme Court; is that correct?

   2                MR. BREWER:    It is not.

   3                MR. DiMURO:    Is it discretionary to the Supreme Court

   4    to accept an appeal?

   5                MR. BREWER:    Yes, it is.

   6                MR. DiMURO:    Exhibit 1, is that the letter from the

   7    Supreme Court noting that they are taking the appeal and they

   8    want briefing on the merits?

   9                MR. BREWER:    Yes, it is.

  10                MR. DiMURO:    And this is the appeal from Judge Reyes'

  11    decision, right?

  12                THE COURT:    From the Appellate Court?

  13                MR. DiMURO:    Yes, sir.    Is that right?

  14                MR. BREWER:    Yes, it is.

  15                MR. DiMURO:    All right.    Did you apply for pro hac

  16    vice admission in the Circuit Court of the First Circuit for

  17    the State of Hawaii in or about May of 2017?

  18                MR. BREWER:    Yes, I did.

  19                MR. DiMURO:    Is that Exhibit 2?

  20                MR. BREWER:    Exhibit 2 is that application.

  21                MR. DiMURO:    What does it disclose about the Lubbock

  22    decision?

  23                MR. BREWER:    It discloses that there is a pending

  24    matter related to Lubbock.

  25                MR. DiMURO:    And is your affidavit attached to your




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   1    local counsel's petition?

   2                MR. BREWER:    That is my affidavit.

   3                MR. DiMURO:    And paragraph 6 of your affidavit to the

   4    court of Hawaii, would you read paragraph 6, please.

   5                MR. BREWER:    "I have never been disciplined by any

   6    jurisdiction in which I am admitted to practice.                I am

   7    currently the subject of a grievance filed with the State Bar

   8    of Texas.    The grievance was filed by a party to a lawsuit in

   9    which I represented the opposing party.           The grievance

  10    proceeding is stayed pending the outcome of judicial

  11    proceedings."

  12                MR. DiMURO:    Is Exhibit 3 the rules of the Hawaii

  13    court system for purposes of disclosing -- making disclosures

  14    for pro hac vice issues?

  15                MR. BREWER:    Yes, it is.

  16                MR. DiMURO:    And what disclosure did they require and

  17    what you were answering by way of Exhibit 2?

  18                MR. BREWER:    Well, (c), (2)(c) I believe it is, "any

  19    and all disciplinary proceedings in which the applicant was

  20    disciplined, any pending disciplinary proceedings against the

  21    applicant, or a statement, if applicable, that the applicant

  22    has never been the subject of any disciplinary proceeding."

  23                MR. DiMURO:    Okay.   Did the court in Hawaii ask for

  24    further disclosure on the Lubbock issue or that grievance?

  25                MR. BREWER:    Yes, the court did.




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    1                 MR. DiMURO:   And is Exhibit 4 the supplemental

    2    submission?

    3                 MR. BREWER:   Yes, it is.

    4                 MR. DiMURO:   Does Exhibit 4 contain your supplemental

    5    declaration concerning the Lubbock decision?

    6                 MR. BREWER:   Yes, it does.

    7                 MR. DiMURO:   All right.    And did the court ultimately

    8    grant your pro hac vice request in Hawaii?

    9                 MR. BREWER:   Yes, the court did.

   10                 MR. DiMURO:   And is that Exhibit 5?

   11                 MR. BREWER:   Yes, Exhibit 5 is the order granting the

   12    admission.

   13                 MR. DiMURO:   And to your knowledge, are all these

   14    exhibits, 2 through 5, public records in the State of Hawaii?

   15                 MR. BREWER:   Yes, they are.

   16                 MR. DiMURO:   Do you have any reason not to disclose

   17    and keep secret the Lubbock decision?

   18                 MR. BREWER:   No.

   19                 MR. DiMURO:   You represent the NRA in this matter.

   20    Do you represent them in other matters?

   21                 MR. BREWER:   Yes, I do.

   22                 MR. DiMURO:   This matter, I believe, procedurally is

   23    somewhere in the middle of discovery?

   24                 MR. BREWER:   Yes, this matter is in discovery, Your

   25    Honor.




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    1               MR. DiMURO:    And the client would request that you

    2    remain as counsel of record?

    3               MR. BREWER:    Yes.

    4               MR. DiMURO:    What assurances can you give the Court

    5    in terms of your efforts to be candid in ongoing proceedings?

    6               MR. BREWER:    Your Honor, as I have already stated to

    7    you, this is bad day, one that I have not had before in

    8    38 years, and I sorely want to avoid ever again.

    9               I take very seriously, as does every lawyer and

   10    professional who works in my law firm, the admonition to be

   11    honorable, candid, and completely accurate with our client's

   12    business as we are advocates in courts.

   13               I was very pleased and looking forward to appearing

   14    as an advocate for the NRA in your court, was pleased when you

   15    granted my pro hac application, and hope you will take my words

   16    sincerely that I very much take seriously my obligation to the

   17    court as an officer of the court.

   18               THE COURT:    All right.     Thank you, sir.

   19               Mr. DiMuro, anything further?

   20               MR. DiMURO:    No, sir.

   21               THE COURT:    All right.     Have a seat.

   22               Mr. Cox --

   23               MR. COX:    Yes, Your Honor.

   24               THE COURT:    What investigation did you do before you

   25    signed this pro hac vice admission?         Did you do anything that




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    1    you were required to do in the written statement?

    2                 MR. COX:   Yes, Your Honor.      I would like to start,

    3    just by way of introduction or background, this is the first

    4    time that I have been counsel for the NRA and the first time

    5    that I have worked with the Brewer firm, and I did submit a

    6    responsive document pleading a couple days ago.

    7                 So, Your Honor, when I first was -- had been retained

    8    in this matter, I did forward on the Local Rules of this court

    9    on to the Brewer firm, on to my contact there in terms of when

   10    I received them and advised them that lawyers at the firm

   11    needed to review the Local Rules before submitting a pro hac

   12    vice application.

   13                 In terms of what I did in terms of an investigation

   14    before I submitted the original application, I had reviewed the

   15    Web site of the Brewer firm, looked at Mr. Brewer's bio, looked

   16    at his court admissions.

   17                 I had one conversation with a partner of Mr. Brewer's

   18    in which I had received his application and then that specific

   19    partner's.    I asked whether there were any issues, and was

   20    advised there were.

   21                 And then I reviewed Mr. Brewer's statement and

   22    affirmation, examined that, and also the listing of all of his

   23    court admissions that is submitted on the back of the pro hac

   24    vice application.

   25                 So that's the extent of the investigation that I did,




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    1    Your Honor.    And then the first time I learned of the existence

    2    of this disciplinary proceeding was a few hours before the

    3    Court issued its ruling on August 14.

    4                 THE COURT:    I notice on -- so you didn't uncover

    5    anything about the Texas ethics probe?

    6                 MR. COX:   No, I didn't, Your Honor.             But I wasn't

    7    specifically searching for it, I wasn't aware of it's

    8    existence.

    9                 THE COURT:    And you didn't have any conversation with

   10    Mr. Brewer personally prior to signing the form?

   11                 MR. COX:   No, I didn't, Your Honor.             I talked to one

   12    of -- a couple of his partners.

   13                 THE COURT:    All right.     Thank you, Mr. Cox.

   14                 All right.    Anything else?

   15                 MR. DiMURO:    Nothing else, Your Honor.              I would have

   16    a few remarks.

   17                 THE COURT:    Go ahead.

   18                 MR. DiMURO:    Thank you.     Well, my remarks probably

   19    can't rise any higher than how you take Mr. Brewer's comments.

   20    I believe he's been quite candid with Your Honor this morning

   21    about his thought process.      Whether or not it was flawed at the

   22    time of signing it is for Your Honor's consideration.

   23                 However, I don't think he was in bad faith or had a

   24    specific intent to mislead the Court.            The Lubbock decision, as

   25    he has testified, is generally known.            I suspect there are




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    1    members of the press here.      In fact, I know of at least one

    2    e-mail inquiry by a member of the press.            So it's a high

    3    profile matter.    And as I have shown you -- and I would move

    4    Exhibits 1 through 5 into evidence.

    5               THE COURT:    Yes, they will be admitted.

    6               MR. DiMURO:    Thank you.     As those exhibits show, it

    7    was openly disclosed in a Hawaii case where the question was

    8    very specific about pending disciplinary procedures.

    9               I was surprised to find that there is actually a

   10    decision out of the District Court of South Carolina quoting

   11    Fourth Circuit law on pro hac vice admissions.               I had never run

   12    across that.    It's In re Ronald Jefferson Davis, Debtor.                   It's

   13    a bankruptcy decision, 2012 WL3782548.

   14               May I pass it up, Your Honor?

   15               THE COURT:    I have it.     It's an order on motion to

   16    revoke pro hac vice admission.

   17               MR. DiMURO:    Then I will save you from pointing out

   18    the pertinent language.      Maybe I shouldn't have been so

   19    surprised to see the decision.

   20               THE COURT:    Well, it's a little different.                  It's not

   21    on all fours with us here, but it is as close as I could find

   22    as well.

   23               MR. DiMURO:    Yes, sir.     The case is in the middle of

   24    proceedings.    I don't know what level of discovery has been

   25    undertaken.    But the NRA is here, I think Mr. Frazier would




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    1    confirm they would prefer to have Mr. Brewer and his firm stay

    2    on as lead counsel in this matter.

    3               And as the Davis case suggests, if revocation is

    4    within the realm of possibility, it should be analyzed under

    5    the rules for disqualifying actual members of the Bar.                    And

    6    those standards are actual conflicts or misuse of confidential

    7    information, or something that goes -- things that go to the

    8    integrity of the system.

    9               Mr. Brewer has an unblemished career disciplinary-

   10    wise otherwise.    And we would ask that Your Honor consider the

   11    fact of his comments, his candor, his sincere efforts to

   12    explain what happened.      And he could have diverted it to

   13    somebody else who may have filled out the form or said it's

   14    okay.   He didn't do that.     He certainly hasn't done anything in

   15    this court in terms of discovery or litigation efforts that

   16    should cause the Court any concern.

   17               And absent any bad faith or intentional misconduct, I

   18    would ask you to consider actually the real cost in terms of

   19    time, money, anxiety, emotion, attorney's fees to get to this

   20    point as exacting a just and fair resolution of this matter.

   21               Thank you.

   22               THE COURT:    All right.     Well, I think the language is

   23    very clear and requires that any action in any court pertaining

   24    to conduct or fitness as a member of the Bar has to be

   25    identified.    And it wasn't here.




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    1               So, Mr. DiMuro, when you talk about the conduct and

    2    the consideration the Court gives to admitting an attorney from

    3    a different jurisdiction, I agree with you, you're looking at

    4    fitness, the reasons why you would admit or you wouldn't admit

    5    foreign attorneys into our court here.

    6               And issues that go to the core of whether somebody

    7    should be admitted were all addressed in the -- not only Judge

    8    Reyes' decision, but explicitly in the Court of Appeals' three

    9    judge opinion that was handed down on March 26 of 2018.

   10               And Mr. Brewer has been very candid this morning.

   11    Obviously, Judge Reyes didn't find that he was being candid

   12    with the Court in the hearings back in 2016 and indicated that

   13    he was anything but.     But, you know, that may have been just an

   14    attorney and judge got sideways, and that happens.

   15               But the Court of Appeals went on to affirm the

   16    findings of Judge Reyes that Mr. Brewer's actions were not a

   17    negligent act, or a mistake, or the result of poor judgment,

   18    but they were in bad faith, unprofessional, and unethical,

   19    highly prejudicial to the fair trial of an impartial jury.

   20               And, of course, we're talking about this push poll

   21    that Mr. Brewer admitted he had reviewed and approved before it

   22    was used by the polling company.

   23               Disrespectful to the judicial system.               Threatening

   24    the integrity of the judicial system.          Incompatible with a fair

   25    trial.   The poll was designed to improperly influence the jury




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    1    pool.    And that the conduct impacted the right of a trial by

    2    impartial jurors.     And that it was intentional and in bad

    3    faith.

    4                And that the quote, "it is undisputed that the trial

    5    Court's ability to impanel an impartial jury and to try a case

    6    before unintimidated witnesses are core functions of the

    7    Court."

    8                Had I known about these opinions, notwithstanding

    9    that there is further appeals ongoing, I wouldn't have signed

   10    the pro hac vice form and would not have admitted Mr. Brewer to

   11    the Eastern District of Virginia.

   12                They are very serious allegations.             They are findings

   13    of bad faith that go to the core of a fair and impartial

   14    rendering of a jury verdict.

   15                And now having reviewed them -- and I realize that

   16    the NRA will be inconvenienced and, if necessary, there might

   17    have to be some adjustment to the discovery process ongoing,

   18    but I find that Mr. Brewer's pro hac vice admission should be

   19    revoked and that he should not be admitted to proceed further

   20    in this case.

   21                I'm concerned about -- was concerned about Mr. Cox's

   22    signature, but I find that he was unaware of the pending -- of

   23    the findings of the ethical misconduct in Texas.                That he had

   24    done a reasonable inquiry.      And that it was up to Mr. Brewer or

   25    his firm members to convey to Mr. Cox the pending matter.




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                                                                                            18

    1                 So I am going to issue an order revoking your pro hac

    2    vice, sir.

    3                 All right.    Thank you, counsel.

    4                 MR. COX:   Thank you, Your Honor.

    5                 MR. DiMURO:    Thank you, Your Honor.

    6           ------------------------------------------------
                                  HEARING CONCLUDED
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   19                      I certify that the foregoing is a true and

   20         accurate transcription of my stenographic notes.

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   23
                                      /s/ Norman B. Linnell
   24                              Norman B. Linnell, RPR, CM, VCE, FCRR

   25




                                              Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
